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 1                                   UNITED STATES DISTRICT COURT

 2                                SOUTHERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA,                                    Case No.: _   MJ3116
                                                                            '22__ _ _ _ __
 4
                             Plaintiff,                           COMPLAINT FOR VIOLATION OF
 5
      V.                                                          Title 18, U.S.C., §§ 751(a) and 4082(a) -
 6                                                                Escape Federal Custody (Felony)

 7   HECTOR BECERRA-MARES

 8                                   Defendant.

 9

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11            The undersigned complainant being duly sworn states:

12   n August 24, 2022, within the Southern District of California, defendant Hector Becerra-Mares, did
   scape from an institution and facility in which he was confined by direction of the Attorney General, or
13 is authorized representative, by willfully failing to remain within the extended limits of his confinement,
   o wit: Core Civic Inc, located at 551 South 35 th Street, San Diego, California, said custody and
14 onfinement being by virtue of his felony conviction for possession of methamphetamine with intent to
    istribute, in violation of Title 21 , United States Code, § 841; all in violation of Title 18, United States
15 ode, Sections 751(a) and 4082(a).
            And the complainant states that this complaint is based on the attached Probable Cause Statement,
16
    which is incorporated herein by reference.
17

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19                                                        Derrick Brady
                                                          Deputy U.S. Marshal
20                                                        U.S. Marshals Service

21
     Attested to by the applicant in accordance with the requirements of Fed R. Crim. P. 4.1, by telephone on
22   this 26th day of August 2022 .

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24
                                                          HONORABLE MICHAELS . BERG
25                                                        United States Magistrate Judge

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                           PROBABLE CAUSE STATEMENT

I, Derrick Brady, being duly sworn, hereby depose and say.

I am currently employed as a Deputy United States Marshal (DUSM) and have been so
employed for approximately two (2) years.

On August 24, 2022, I was assigned to investigate the escape and current whereabouts of
BECERRA-MARES, HECTOR, who was placed in escape status at Core Civic, Inc. located 551
South 35th Street, San Diego, CA 92113. Following my assignment to this case, I reviewed
records maintained by Core Civic, Inc. , the Bureau of Prisons, United States District Court, and
the United States Marshals Service for relevant information and documents which provided the
following facts:

BECERRA-MARES received a sentence of Six (6) months followed by three years of
supervision from U.S. Magistrate Court Judge Ruth Montenegro, in the Southern District of
California for violation of 8 USC 1324(a)(l )(A)(ii), transportation of certain aliens and aiding
and abetting.

On August 24, 2022, BECERRA-MARES signed out from Core Civic, Inc. for a job interview
with a return time of 4:30 PM. The BOP duty officer extended his return time to 6:00 PM. The
staff at Core Civic contacted BECERRA-MARES at 5:05 PM and he indicated he was returning
in 5 minutes. BECERRA-MARES failed to return the facility at 6:00 PM and was placed into
escape status.

His whereabouts are unknown currently.

On 8/24/2022, BECERRA-MARES escaped from Core Civic, Inc., San Diego, California.

BECERRA-MARES remains a fugitive at large as his current whereabouts are unknown.

Dated: August 26th, 2022


                                                                 Derrick Brady
                                                            Deputy U.S. Marshal
